                            Case 23-11074-CTG                       Doc 1         Filed 08/06/23             Page 1 of 32


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Roadway LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       11500 Outlook Street, Suite 400
                                       Number              Street                                     Number         Street


                                                                                                      P.O. Box
                                       Overland Park, Kansas 66211
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Davidson County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.myyellow.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                               Case 23-11074-CTG                  Doc 1         Filed 08/06/23           Page 2 of 32
Debtor            Roadway LLC                                                         Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            4481

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                                    Case 23-11074-CTG                          Doc 1        Filed 08/06/23                Page 3 of 32
    Debtor           Roadway LLC                                                                   Case number (if known)
              Name



    10. Are any bankruptcy cases                 ☐ No
        pending or being filed by a              ☒ Yes.                                                                               Relationship       Affiliate
                                                                Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                                District      District of Delaware
       List all cases. If more than 1,                                                                                                When               08/06/2023
       attach a separate list.                                Case number, if known _______________________                                              MM / DD / YYYY

    11. Why is the case filed in this           Check all that apply:
        district?
                                                ☒     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                      immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                ☒     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have             ☒ No1
        possession of any real                  ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                                Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                            ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                                  safety.
                                                                  What is the hazard?

                                                            ☐     It needs to be physically secured or protected from the weather.

                                                            ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                                   (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                                   other options).
                                                            ☐     Other


                                                            Where is the property?
                                                                                                      Number           Street



                                                                                                      City                                      State        Zip Code



                                                            Is the property insured?
                                                            ☐ No

                                                            ☐ Yes.         Insurance agency

                                                                           Contact name
                                                                           Phone




                            Statistical and administrative information

    13. Debtor's estimation of                 Check one:
        available funds
                                               ☒ Funds will be available for distribution to unsecured creditors.
                                               ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of                    ☐      1-49                          ☐       1,000-5,000                           ☐     25,001-50,000
        creditors (on a                        ☐      50-99                         ☐       5,001-10,000                          ☐     50,001-100,000
        consolidated basis)                    ☐      100-199                       ☐       10,001-25,000                         ☒     More than 100,000
                                               ☐      200-999


1      The Debtors provide their customers with a wide range of transportation services through their vehicle fleets and a network of service centers, equipment, and transportation
       professionals. Certain Debtors possess or operate certain real property where remediation and other cleanup efforts associated with these services may be presently
       underway. The Debtors note that the term “imminent and identifiable hazard” is not defined in this form; however, the Debtors do not believe they own or possess any real
       or personal property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety.

       Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
                             Case 23-11074-CTG                   Doc 1          Filed 08/06/23           Page 4 of 32
Debtor           Roadway LLC                                                        Case number (if known)
          Name



15. Estimated assets (on a          ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)             ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on       ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)           ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                    ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                    ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         08/06/2023
                                                             MM/ DD / YYYY


                                             /s/ Matthew A. Doheny                                              Matthew A. Doheny
                                             Signature of authorized representative of debtor                Printed name

                                             Title    Chief Restructuring Officer




18. Signature of attorney                    /s/ Laura Davis Jones                                          Date        08/06/2023
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Laura Davis Jones
                                             Printed name
                                             Pachulski Stang Ziehl & Jones LLP
                                             Firm name
                                             919 North Market Street, 17th Floor
                                             Number                 Street
                                             Wilmington                                                             Delaware          19801
                                             City                                                                   State               ZIP Code

                                             (302) 652-4100                                                         ljones@pszjlaw.com
                                             Contact phone                                                               Email address
                                             2436                                                Delaware
                                             Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
                    Case 23-11074-CTG                 Doc 1       Filed 08/06/23    Page 5 of 32




  Fill in this information to identify the case:

  United States Bankruptcy Court for the:
                           District of Delaware
                                      (State)                                                  ☐ Check if this is an
  Case number (if                                                                                  amended filing
  known):                                          Chapter   11



                                               Rider 1
                Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
 the United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the
 United States Code. The Debtors have moved for joint administration of these cases under the case
 number assigned to the chapter 11 case of Yellow Corporation.

Yellow Corporation                                            USF Reddaway Inc.
1105481 Ontario Inc.                                          Yellow Freight Corporation
Express Lane Service, Inc.                                    Yellow Logistics, Inc.
New Penn Motor Express LLC                                    YRC Association Solutions, Inc.
Roadway Express International, Inc.                           YRC Enterprise Services, Inc.
Roadway LLC                                                   YRC Freight Canada Company
Roadway Next Day Corporation                                  YRC Inc.
USF Bestway Inc.                                              YRC International Investments, Inc.
USF Dugan Inc.                                                YRC Logistics Inc.
USF Holland International Sales Corporation                   YRC Logistics Services, Inc.
USF Holland LLC                                               YRC Mortgages, LLC
USF RedStar LLC                                               YRC Regional Transportation, Inc.
                  Case 23-11074-CTG           Doc 1        Filed 08/06/23   Page 6 of 32



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                       )
    In re:                                             )      Chapter 11
                                                       )
    ROADWAY LLC,                                       )      Case No. 23-___________(___)
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS2

                                                                                       Percentage of
               Equity Holder                    Address of Equity Holder
                                                                                        Equity Held
                                             11500 Outlook Street, Suite 400,
             Yellow Corporation                                                            100%
                                              Overland Park, Kansas 66211




2      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
                Case 23-11074-CTG            Doc 1        Filed 08/06/23   Page 7 of 32



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 ROADWAY LLC,                                         )      Case No. 23-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

               Shareholder                                Approximate Percentage of Shares Held
             Yellow Corporation                                          100%
Debtor Yellow Corporation , et al. , _
                                                                    Case 23-11074-CTG                                Doc 1                Filed 08/06/23                           Page 8 of Case
                                                                                                                                                                                              32number (if known)_____________________________________


     Fill in this information to identify the case:
     Debtor name: Yellow Corporation
     United States Bankruptcy Court for the: District of Delaware
     Case number (If known): ______________                                                                                                                                                         Check if this is an amended
                                                                                                                                                                                                    filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
     12/15


     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C.
     § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

     Name of creditor and complete mailing address, including Name, telephone number, and email address of   Nature of the claim (for example,      Indicate if claim is                        Amount of unsecured claim
                            zip code                                        creditor contact               trade debts, bank loans, professional contingent, unliquidated, if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                            services, and government contracts)        or disputed               If claim is partially secured, fill in total claim amount and
                                                                                                                                                                             deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                                                                                             claim.

                                                                                                                                                                                                      Total claim, if Deduction for value of
                                                                                                                                                                                                                                             Unsecured claim
                                                                                                                                                                                                     partially secured collateral or setoff
    BNSF RAILWAY COMPANY                                                KATIE FARMER
    ATTN: KATIE FARMER                                                  PRESIDENT AND CHIEF EXECUTIVE OFFICER
  1 2650 LOU MENK DR                                                    EMAIL - katie.farmer@bnsf.com                                          Trade Payable                                                                                       $6,309,235
    FORT WORTH, TX 76131


    EXL SERVICE HOLDINGS INC
                                                                        ROHIT KAPOOR
    ATTN: ROHIT KAPOOR
                                                                        VICE CHAIRMAN AND CHIEF EXECUTIVE OFFICER
    320 PARK AVE
  2                                                                     EMAIL - rohit.kapoor@exlservice.com                                    Trade Payable                                                                                       $3,331,326
    29TH FLOOR
                                                                        PHONE - (917) 842-8330
    NEW YORK, NY 10022


    AMAZON                                                              ANDY JASSY
    ATTN: ANDY JASSY                                                    PRESIDENT AND CHIEF EXECUTIVE OFFICER
  3 410 TERRY AVE N                                                     EMAIL - andyj@amazon.com                                Customer Overpayment and Customer Incentive            Contingent                                                 $2,091,899*
    SEATTLE, WA 98109                                                   PHONE - (206) 266-2261


    PILOT TRAVEL CENTERS LLC                                            ADAM WRIGHT
    ATTN: ADAM WRIGHT                                                   CHIEF EXECUTIVE OFFICER
  4 5500 LONAS DRIVE                                                    EMAIL - awright@pilotflyingj.com                                       Trade Payable                                                                                       $1,860,839
    KNOXVILLE, TN 37909


                                                                        TED DECKER
    HOME DEPOT
                                                                        CHAIRMAN, PRESIDENT & CHIEF EXECUTIVE
    ATTN: TED DECKER
                                                                        OFFICER                                                 Cargo-Related Claim, Customer Overpayment,
  5 2455 PACES FERRY RD SE                                                                                                                                                             Contingent                                                 $1,663,577*
                                                                        EMAIL - ted_decker@homedepot.com                                 and Customer Overcharge
    ATLANTA, GA 30339



    BELK EXPRESS                                                        ANTHONY BELK
    ATTN: ANTHONY BELK                                                  PRINCIPAL
  6 7814 SCRAPESHIN TRAIL                                               EMAIL - aggoalie@yahoo.com                                             Trade Payable                                                                                       $1,198,204
    CHATTANOOGA, TN 37421                                               PHONE - (423) 503-1236
                                                                        FAX - (423) 521-3757

    RFT LOGISTICS LLC
                                                                        CHRISTOPHER MEJIA
    ATTN: CHRISTOPHER MEJIA
                                                                        CHIEF EXECUTIVE OFFICER
    14439 NW MILITARY HWY
  7                                                                     EMAIL - truckload@rftlogistics.com                                     Trade Payable                                                                                       $1,105,997
    SUITE 108-607
                                                                        PHONE - (512) 905-2797
    SAN ANTONIO, TX 78231


    PENSKE TRUCK LEASING                                                BRIAN HARD
    ATTN: BRIAN HARD                                                    PRESIDENT AND CHIEF EXECUTIVE OFFICER
  8 ROUTE 10 GREEN HILLS                                                EMAIL - b.hard@gopenske.com                                            Trade Payable                                                                                       $1,104,630
    READING, PA 19603                                                   PHONE - (252) 446-1106


                                                                        JENNIFER HAMANN
    UNION PACIFIC RAILROAD
                                                                        EXECUTIVE VICE PRESIDENT AND CHIEF FINANCIAL
    ATTN: JENNIFER HAMANN
                                                                        OFFICER
  9 1400 DOUGLAS ST                                                                                                                            Trade Payable                                                                                       $1,089,196
                                                                        EMAIL - jhamann@up.com
    OMAHA, NE 68179


                                                                        CHRISTINA ZAMARRO
    GOODYEAR TIRE & RUBBER COMPANY
                                                                        EXECUTIVE VICE PRESIDENT AND CHIEF FINANCIAL
    ATTN: CHRISTINA ZAMARRO
                                                                        OFFICER
 10 200 INNOVATION WAY                                                                                                             Trade Payable and Cargo-Related Claim               Contingent                                                  $1,039,640
                                                                        EMAIL - christina_zamarro@goodyear.com
    AKRON, OH 44316-0001


    MICHELIN NORTH AMERICA INC                                          ALEXIS GARCIN
    ATTN: ALEXIS GARCIN                                                 PRESIDENT AND CHIEF EXECUTIVE OFFICER
 11 1 PARKWAY S                                                         EMAIL - alexis.garcin@michelin.com                                     Trade Payable                                                                                       $1,020,609
    GREENVILLE, SC 29615


    KEURIG DR. PEPPER                                                   ANTHONY SHOEMAKER
    ATTN: ANTHONY SHOEMAKER                                             CHIEF LEGAL OFFICER & GENERAL COUNSEL
 12 6425 HALL OF FAME LANE                                              EMAIL - anthony.shoemaker@kdrp.com                                 Customer Overcharge                         Contingent                                                   $912,969*
    FRISCO, TX 75034

    DIRECT CHASSISLINK, INC.
                                                                        BILL SHEA
    ATTN: BILL SHEA
                                                                        CHIEF EXECUTIVE OFFICER
    3525 WHITEHALL PARK DRIVE
 13                                                                     EMAIL - bill.shea@dcli.com                                             Trade Payable                                                                                         $894,689
    SUITE 400
    CHARLOTTE, NC 28273

    MID-AMERICAN CONSTRUCTORS LLC                                       JARRETT R. MINCH
    ATTN: JARRETT R. MINCH                                              AGENT
 14 4202 PINGREE ROAD                                                   EMAIL - jarrett.minch@swbell.net                                       Trade Payable                                                                                         $883,851
    HOWELL, MI 48843                                                    PHONE - (734) 728-8352

                                                                        DAVID KASTIN
    BED BATH & BEYOND
                                                                        EXECUTIVE VICE PRESIDENT, CHIEF LEGAL OFFICER
    ATTN: DAVID KASTIN
                                                                        AND CORPORATE SECRETARY                                      Cargo-Related Claim and Customer
 15 650 LIBERTY AVE                                                                                                                                                                    Contingent                                                   $878,503*
                                                                        EMAIL - david.kastin@bedbath.com                                       Overpayment
    UNION, NJ 07083


*Contingent on potential setoff


Official Form 204                                                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                     page 1
Debtor Yellow Corporation , et al. , _
                                                      Case 23-11074-CTG                                       Doc 1                Filed 08/06/23                             Page 9 of Case
                                                                                                                                                                                         32number (if known)_____________________________________


      Name of creditor and complete mailing address, including Name, telephone number, and email address of   Nature of the claim (for example,      Indicate if claim is                        Amount of unsecured claim
                             zip code                                        creditor contact               trade debts, bank loans, professional contingent, unliquidated, if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                             services, and government contracts)        or disputed               If claim is partially secured, fill in total claim amount and
                                                                                                                                                                              deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                                                                                              claim.

                                                                                                                                                                                                      Total claim, if Deduction for value of
                                                                                                                                                                                                                                             Unsecured claim
                                                                                                                                                                                                     partially secured collateral or setoff
    COTY                                                         SUE NABI
    ATTN: SUE NABI                                               CHIEF EXECUTIVE OFFICER
 16 350 5TH AVE                                                  EMAIL - sue_nabi@cotyinc.com                                       Customer Overcharge                         Contingent                                                          $867,891*
    NEW YORK, NY 10118


    DAIMLER TRUCKS NA                                            JOHN O'LEARY
    ATTN: JOHN O'LEARY                                           PRESIDENT AND CHIEF EXECUTIVE OFFICER
 17 4555 NORTH CHANNEL AVENUE                                    EMAIL - john.oleary@daimler.com                                    Customer Overcharge                         Contingent                                                          $761,324*
    PORTLAND, OR 97217                                           PHONE - (503) 745-9040



    NORTH AMERICAN TRANSACTION SERVICES                          BARBARA CARLSON
    ATTN: BARBARA CARLSON                                        AUTHORIZED REPRESENTATIVE
 18 PO BOX 7247-6171                                             EMAIL - vfs.psf.support.na@volvo.com                                   Trade Payable                                                                                                $709,858
    PHILADELPHIA, PA 19170                                       PHONE - (866) 428-6904



    CENTRAL PENNSYLVANIA TEAMSTERS                               WILLIAM M. SHAPPELL
    ATTN: WILLIAM M. SHAPPELL                                    PRESIDENT AND CHAIRMAN
 19 1055 SPRING STREET                                           EMAIL - pensionfund@centralpateamsters.com                    Union - Health and Welfare Fund                Unliquidated                                                       Undetermined
    WYOMISSING, PA 19610                                         PHONE - (610) 320-5521 / 610-320-5505


    CENTRAL STATES H&W FUND                                      THOMAS NYHAN
    ATTN: THOMAS NYHAN                                           EXECUTIVE DIRECTOR
 20 8647 WEST HIGGINS RD.                                        EMAIL - thomas.nyhan@myteamcare.org                           Union - Health and Welfare Fund                Unliquidated                                                       Undetermined
    ROSEMONT, IL 60631                                           PHONE - (847) 648-0010


    CENTRAL STATES PENSION                                       THOMAS NYHAN
    ATTN: THOMAS NYHAN                                           EXECUTIVE DIRECTOR
 21 8647 WEST HIGGINS RD.                                        EMAIL - thomas.nyhan@myteamcare.org                                Union - Pension Fund                      Unliquidated                                                       Undetermined
    ROSEMONT, IL 60631                                           PHONE - (847) 648-0010


    IAM NATIONAL 401K PLAN
                                                                 ROBERT MARTINEZ, JR.
    ATTN: ROBERT MARTINEZ, JR.
                                                                 PRESIDENT
    C/O INTERNATIONAL ASSOCIATION OF MACHINISTS                                                                          Union - Pension Fund and Pension Withdrawal
 22                                                              EMAIL - bobby.martinez@iamaw.ca                                                                              Unliquidated                                                       Undetermined
    12365 ST. CHARLES ROCK ROAD                                                                                                            Liability
                                                                 PHONE - (888) 739-6442 / (314) 739-6442
    BRIDGETON, MO 63044
                                                                 FAX - (314) 739-2374

      IBT LOCAL 710
                                                                 SEAN O'BRIEN
      ATTN: SEAN O'BRIEN
                                                                 GENERAL PRESIDENT
      C/O INTERNATIONAL BROTHERHOOD OF TEAMSTERS
 23                                                              EMAIL - sobrien@teamster.org                             Union - Pension & Health and Welfare Fund           Unliquidated                                                       Undetermined
      25 LOUISIANA AVE, N.W.
                                                                 PHONE - (202) 624-6800
      WASHINGTON, DC 200001


    LOCAL 707
                                                                 KEVIN MCCAFFREY
    ATTN: KEVIN MCCAFFREY
                                                                 PRESIDENT
    14 FRONT STREET
 24                                                              EMAIL - kmccaffrey@ibt707.com                            Union - Pension & Health and Welfare Fund           Unliquidated                                                       Undetermined
    SUITE 301
                                                                 PHONE - (516) 560-8501
    HEMPSTEAD, NY 11550


      LOCAL 805 PENSION AND RETIREMENT PLAN
      ATTN: ARTHUR KATZ                                          ARTHUR KATZ
      60 BROAD STREET                                            PLAN TRUSTEE
 25                                                                                                                          Union - Pension Withdrawal Liability             Unliquidated                                                       Undetermined
      37TH FLOOR                                                 PHONE - (212) 308-4200
      NEW YORK, NY 10004                                         FAX - (212) 308-4545


    MICHIGAN CONFERENCE OF TEAMSTERS                             KYLE STALLMAN
    ATTN: KYLE STALLMAN                                          EXECUTIVE DIRECTOR
 26 2700 TRUMBULL AVENUE                                         EMAIL - kstallman@mctwf.org                                   Union - Health and Welfare Fund                Unliquidated                                                       Undetermined
    DETROIT, MI 48216                                            PHONE - (313) 964-2400 / (800) 572-7687


    NY STATE TEAMSTERS COUNCIL
                                                                 JOHN A. BULGARO
    ATTN: JOHN A. BULGARO
                                                                 CO-CHAIRMAN
 27 151 NORTHERN CONCOURSE                                                                                                Union - Pension & Health and Welfare Fund           Unliquidated                                                       Undetermined
                                                                 PHONE - (315) 455-9790
    SYRACUSE, NY 13212-4047


    PENSION BENEFIT GUARANTY CORPORATION                         PATRICIA KELLY
    ATTN: PATRICIA KELLY                                         CHIEF FINANCIAL OFFICER
 28 1200 K STREET, NW                                            EMAIL - pbgcpublicaffairs@pbgc.gov                                    Union - Pension                 Contingent and Unliquidated                                               Undetermined
    WASHINGTON, DC 20015                                         PHONE - (202) 326-4110
                                                                 FAX - (202) 229-4047

    TEAMSTERS NATIONAL 401K SAVINGS PLAN
                                                                 SEAN O'BRIEN
    ATTN: SEAN O'BRIEN
                                                                 GENERAL PRESIDENT
    C/O INTERNATIONAL BROTHERHOOD OF TEAMSTERS
 29                                                              EMAIL - sobrien@teamster.org                                       Union - Pension Fund                      Unliquidated                                                       Undetermined
    25 LOUISIANA AVE, N.W.
                                                                 PHONE - (202) 624-6800
    WASHINGTON, DC 200001


    WESTERN TEAMSTERS WELFARE FUND                               CHUCK MACK
    ATTN: CHUCK MACK                                             UNION CHAIRMAN AND FUND TRUSTEE
 30 2323 EASTLAKE AVE. E                                         EMAIL - chuckmack620@gmail.com                                Union - Health and Welfare Fund                Unliquidated                                                       Undetermined
    SEATTLE, WA 98102                                            PHONE - (206) 329-4900 / (800) 531-1489



*Contingent on potential setoff




Official Form 204                                                                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                            page 2
                          Case 23-11074-CTG                      Doc 1     Filed 08/06/23            Page 10 of 32



    Fill in this information to identify the case and this filing:

   Debtor Name          Roadway LLC

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       08/06/2023                                 /s/ Matthew A. Doheny
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Matthew A. Doheny
                                                                                 Printed name
                                                                                 Chief Restructuring Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
                 Case 23-11074-CTG         Doc 1    Filed 08/06/23    Page 11 of 32




                          OMNIBUS WRITTEN CONSENT IN LIEU OF
                              MEETINGS OF THE BOARD OF
                               DIRECTORS OR MANAGERS

                                            August 6, 2023

           The undersigned, being all of the members of the board of directors or board of managers,

as applicable (each, a “Board” and collectively, the “Board”) of the entities listed on Schedule A

hereto (the “Companies” and each, a “Company”), hereby take the following actions and adopt the

following resolutions by unanimous written consent (this “Consent”) pursuant to (as applicable)

the by-laws, operating agreement, limited liability company agreement or similar governing

document of each Company (such Company’s “Bylaws”) with the same force and effect as if they

had been unanimously adopted at a duly convened meeting of the Board:

      I.   AUTHORIZATION TO REDUCE THE SIZE OF THE BOARD OF DIRECTORS
           OF YELLOW CORPORATION

       WHEREAS, pursuant to the Amended and Restated Certificate of Incorporation dated
February 4, 2021 of Yellow Corporation, the precise number of the board of directors of Yellow
Corporation (the “Yellow Board”), other than those who may be elected by the holders of one or
more series of preferred stock voting separately by class or series, shall be fixed from time to time
exclusively pursuant to a resolution adopted by the majority of the whole Yellow Board;

        WHEREAS, on April 19, 2023, the Yellow Board adopted a resolution increasing the total
number of directors fixed for the Yellow Board, including those directors who may be elected by
the holders of preferred stock, to eleven (11);

        WHEREAS, Matthew A. Doheny and Javier Evans resigned from the Yellow Board
effective July 31, 2023; and

       WHEREAS, the Yellow Board deems it advisable and in the best interest of Yellow
Corporation and its stockholders to decrease the number of directors fixed for the Yellow Board
by two (2) so that the number shall be nine (9).

           RESOLVED, that the number of directors for the Yellow Board shall be fixed at nine (9).

  II.      CHAPTER 11 FILING

         WHEREAS, the Board has reviewed and considered the filing of a voluntary petition for
relief for the Company under the provisions of chapter 11 of title 11 of the United States Code, 11
U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) pursuant to applicable law and in

012
              Case 23-11074-CTG         Doc 1     Filed 08/06/23    Page 12 of 32




accordance with the requirements of the Company’s governing documents and applicable law
(the “Restructuring Matters”); and

       WHEREAS, the Board has reviewed, analyzed, and considered the materials presented by
the Company’s financial and legal advisors regarding Restructuring Matters, and has had adequate
opportunity to consult such persons regarding the materials presented, obtain additional
information, and fully consider each of the strategic alternatives available to the Company.

        RESOLVED, in the business judgment of the Board it is desirable and in the best interest
of the Company, its creditors, other stakeholders, and other parties in interest, that the Company
files or causes to be filed a voluntary petition for relief and any other petition for relief or
recognition or other order that may be desirable under applicable law in the United States
(collectively, the “Bankruptcy Petition”) under the provisions of the Bankruptcy Code in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and, in
accordance with the requirements in the Company’s governing documents and applicable law,
hereby consents to, authorizes and approves, the filing of the Bankruptcy Petition;

         FURTHER RESOLVED, any manager or other duly appointed officer of the Company,
which shall include each of the Chief Restructuring Officer, Chief Executive Officer, Chief
Financial Officer, General Counsel, any Executive Vice President, or any Senior Vice President,
and any successor thereto or any person holding any similar position of the Company (collectively,
the “Authorized Persons”) be, and each of them individually hereby is, authorized and directed for
and on behalf of the Company to take all actions (including, without limitation, to negotiate and
execute any documents, certificates, supplemental agreements, and instruments) and to act as
signatory and attorney on behalf of the Company in respect of the Restructuring Matters, and/or
any persons to whom such Authorized Persons and/or officers delegate certain responsibilities be,
and hereby are, authorized to execute and file on behalf of the Company all petitions, schedules,
lists, and other motions, papers, or documents, and to take any and all action that they deem
necessary or proper to obtain such relief under the Bankruptcy Code, including, but not limited to,
any action necessary or proper to maintain the ordinary course operations of the Company’s
businesses;

        FURTHER RESOLVED, each of the Authorized Persons be, and each of them
individually hereby is, authorized, empowered, and directed to retain or employ on behalf of the
Company: (i) the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
as bankruptcy counsel; (ii) the law firm of Pachulski Stang Ziehl Jones LLP as local
bankruptcy counsel; (iii) Ducera Partners LLC as investment banker; (iv) Alvarez & Marsal
North America, LLC as restructuring advisor; (v) Epiq Bankruptcy Solutions LLC as claims
and noticing agent; and (vi) any other legal counsel, accountants, financial advisors,
restructuring advisors, or other professionals the Authorized Persons deem necessary,
appropriate or advisable (each, a “Professional” and collectively, the “Professionals”); each
to represent and assist the Company in carrying out its duties and responsibilities and exercising
its rights under the Bankruptcy Code and any applicable law (including, but not limited to,
the law firms filing any pleadings or responses); and in connection therewith, the Authorized
Persons be, and each of them individually hereby is, authorized, empowered and directed, in
accordance with the terms and conditions
              Case 23-11074-CTG          Doc 1     Filed 08/06/23     Page 13 of 32




hereof, to execute appropriate retention and employment agreements, pay appropriate retainers,
and cause to be filed appropriate applications for authority to retain such services; and

       FURTHER RESOLVED, each of the Authorized Persons be, and each of them
individually hereby is, authorized, empowered and directed to execute and file, or direct the
Company’s Professionals to file, all petitions, schedules, motions, lists, applications, pleadings,
and other papers, and to perform such further actions and execute such further documentation that
the Authorized Persons in their absolute discretion deem necessary, appropriate or desirable in
accordance with these resolutions.

III.   CCAA RECOGNITION APPLICATION

        RESOLVED, that in the business judgment of each Board and based on the
recommendation from management and the financial and legal advisors of the Companies, it is
desirable and in the best interests of each Company, its creditors and other parties in interest that
recognition proceedings be filed by or on behalf of 1105481 Ontario Inc., USF Holland
International Sales Corporation, YRC Logistics Inc. and YRC Freight Canada Company (and such
other Company as may be necessary) in Canada under the Companies’ Creditors Arrangement Act
(Canada) (“CCAA”) in respect of the Company’s chapter 11 case and that such other insolvency
or bankruptcy relief in Canada in respect of such Companies and any other Company be sought
(the “Canadian Proceedings”), and the filing of such applications are authorized hereby;

      FURTHER RESOLVED, that, subject to approval of the Bankruptcy Court, Yellow
Corporation is hereby appointed as the foreign representative of each of 1105481 Ontario Inc.,
USF Holland International Sales Corporation, YRC Logistics Inc. and YRC Freight Canada
Company (and such other Company as may be necessary) to appear in connection with the
Canadian Proceedings;

        FURTHER RESOLVED, that, subject to such approvals of the Bankruptcy Court as may
be necessary, each of the Authorized Persons be, and hereby is, authorized, empowered and
directed on behalf of and in the name of 1105481 Ontario Inc., USF Holland International Sales
Corporation, YRC Logistics Inc. and YRC Freight Canada Company (and such other Company as
may be necessary) to appoint an individual or entity as its foreign representative to appear in
connection with Canadian Proceedings;

        FURTHER RESOLVED, that each of the Authorized Persons be, and hereby is,
authorized, empowered and directed to execute and file on behalf of 1105481 Ontario Inc., USF
Holland International Sales Corporation, YRC Logistics Inc. and YRC Freight Canada Company
(or such other Company as may be necessary) all petitions, schedules, motions, objections, replies,
applications, pleadings, lists, documents and other papers, and to take any and all action that such
Authorized Persons deem necessary, appropriate or desirable to obtain such relief, including,
without limitation, any action necessary, appropriate or desirable to maintain the ordinary course
operation of such Company’s businesses or to assist such Company in the Canadian Proceedings
and in carrying out its duties under the provisions of the CCAA;

       FURTHER RESOLVED, that each of the Authorized Persons be, and hereby is,
authorized and directed on behalf of and in the name of 1105481 Ontario Inc., USF Holland
              Case 23-11074-CTG         Doc 1     Filed 08/06/23    Page 14 of 32




International Sales Corporation, YRC Logistics Inc. and YRC Freight Canada Company (and such
other Company as may be necessary) to employ Goodmans LLP (“Goodmans”) as Canadian
counsel to provide Canadian legal advice to the Companies, to represent and assist each Company
in carrying out its duties under the CCAA and the Canadian Proceedings, and to take any and all
actions to advance the Company’s rights and obligations, including filing any motions, objections,
replies, applications, or pleadings, and in connection therewith, each of the Authorized Persons,
with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and, if required, to cause to be filed an appropriate
application for authority to retain Goodmans in accordance with applicable law; and

       FURTHER RESOLVED, that each of the Authorized Persons be, and hereby is,
authorized and directed to pay the fees and expenses of the proposed Canadian court appointed
Information Officer in the Canadian Proceedings, Alvarez & Marsal Canada Inc., and its counsel,
Cassels Brock & Blackwell LLP, in connection with the Canadian Proceedings and, as applicable,
on such terms and conditions as the Canadian Court shall subsequently approve.

IV.    SENIOR SECURED DEBTOR-IN-POSSESSION CREDIT AGREEMENT

        WHEREAS, Yellow Corporation, a Delaware corporation (“Borrower”), the other entities
listed on Schedule B hereto, as Guarantors (together, the “DIP Loan Parties” and each a “DIP Loan
Party”), the financial institutions from time to time party thereto (the “DIP Lenders”) and Alter
Domus Products Corp., as administrative agent and collateral agent (collectively, the “DIP Agent”)
propose to enter into that certain Senior Secured Super-Priority Debtor-In-Possession Credit
Agreement, to be dated on or about the date hereof (as amended, restated, amended and restated,
supplemented, refinanced, extended or otherwise modified from time to time, the “DIP Credit
Agreement”);

       WHEREAS, each DIP Loan Party is a direct or indirect subsidiary of the Borrower;

       WHEREAS, the obligation of the DIP Lenders to make the Loans to the Borrower under
the DIP Credit Agreement is subject to each DIP Loan Party having satisfied certain conditions
described in the DIP Credit Agreement; and

         WHEREAS, each Board of the DIP Loan Parties listed on Schedule B (collectively,
the “DIP Loan Board”) deems it to be advisable and in the best interests of each respective DIP
Loan Party to enter into the DIP Credit Agreement and each other DIP Loan Document (as defined
below) to which it is a party and each agreement, document, instrument, certificate, recording and
filing relating thereto.

        RESOLVED, that the form, terms and provisions of (i) the DIP Credit Agreement and (ii)
each of the instruments, agreements and documents listed below (including the DIP Credit
Agreement, collectively, the “DIP Loan Documents”), substantially in the form delivered pursuant
to the DIP Credit Agreement, and the transactions contemplated thereunder, each DIP Loan Party’s
performance of its obligations under the DIP Credit Agreement and other DIP Loan Documents,
including any borrowings or guarantee thereunder, as applicable, and the grant and maintaining of
security and liens on its assets under the DIP Loan Documents, be, and hereby are, in all respects,
authorized and approved; and further resolved, that any of the members of the DIP Loan Board or
              Case 23-11074-CTG          Doc 1     Filed 08/06/23     Page 15 of 32




each of the chief executive officer (if any), any president, any vice president, any chief financial
officer, any chief operating officer, any controller, the treasurer, any assistant treasurer, the
secretary or any assistant secretary of the DIP Loan Party and any other person designated by the
DIP Loan Board or any president (collectively, the “Authorized Officers”), acting alone or with
one or more other Authorized Officers be, and hereby is, authorized and empowered to execute
and deliver the DIP Documents (including by facsimile, electronic or comparable method), and to
cause each DIP Loan Party to perform its obligations thereunder, and each of the instruments,
certificates, notices and documents contemplated thereby, in the name and on behalf of each DIP
Loan Party under its seal or otherwise, substantially in the forms presented to and/or with the terms
reviewed by or with the undersigned with such changes as any Authorized Officer may in his or
her sole discretion approve, with such execution by said Authorized Officer to constitute
conclusive evidence of his or her review and approval of the terms thereof, including any
departures therein from or amendments, modifications, supplements, alterations, changes or
adjustments to the form presented to the DIP Loan Board:

       (a)     the Senior Secured Super-Priority Debtor-In-Possession Security Agreement;

       (b)     any note;

       (c)     any fee letter in connection with the DIP Credit Agreement;

       (d)     UCC financing statements, fixture filings, and other instruments as may be
               reasonably requested by the DIP Agent or as may be necessary or appropriate to
               create, preserve and perfect the security interests purported to be created by the DIP
               Loan Documents;

       (e)     such other security agreements, pledge agreements, deeds of trust, mortgages,
               notices, financing statements, tax affidavits, reaffirmation agreements, and other
               instruments as may be necessary or appropriate to create, preserve and perfect the
               liens purported to be required pursuant to the DIP Loan Documents to be created
               in the Collateral as collateral security for the payment of obligations, advances,
               debts or liabilities related to each DIP Loan Party’s Obligations;

       (f)     such agreements with third parties (including, without limitation, bank agency
               agreements, motor vehicle perfection agreements, lockbox agreements, blocked
               account agreements, control agreements, credit card notices, customs broker
               agreements, landlord agreements and warehouse letters) relating to the Collateral
               as may be necessary or appropriate to create, preserve and perfect the liens
               purported to be required pursuant to the DIP Loan Documents to be created in the
               Collateral as collateral security for the payment of obligations, advances, debts or
               liabilities related to each DIP Loan Party’s obligations; and

       (g)     such other Loan Documents (as defined in the DIP Credit Agreement), documents,
               agreements, instruments, certificates, notices and assignments as may be
               reasonably requested by the DIP Agent or required by the DIP Credit Agreement,
               DIP Loan Documents or any other Loan Documents;
              Case 23-11074-CTG          Doc 1     Filed 08/06/23      Page 16 of 32




       FURTHER RESOLVED, that each DIP Loan Party will receive value from its entry into
and obtain benefits under the DIP Credit Agreement and any other DIP Loan Documents and such
actions are necessary and convenient to support the conduct, promotion and attainment of the
business of each DIP Loan Party;

        FURTHER RESOLVED, that each of the Authorized Officers, acting alone, be, and
hereby is, authorized and empowered, in the name and on behalf of each DIP Loan Party, to take
all such further actions including, without limitation, to pay or cause to be paid all fees and
expenses in accordance with the terms of the DIP Loan Documents, to arrange for and enter into
supplemental agreements, amendments, instruments, certificates or documents relating to the
transactions contemplated by the DIP Credit Agreement or any of the other DIP Loan Documents
and to execute and deliver all such supplemental agreements, amendments, instruments,
certificates or documents in the name and on behalf of each DIP Loan Party, which shall in their
sole judgment be necessary, proper or advisable in order to perform each DIP Loan Party’s
obligation under or in connection with the DIP Credit Agreement or any of the other DIP Loan
Documents and the transactions contemplated therein, and which necessity and advisability shall
be conclusively evidenced by such Authorized Officer’s execution thereof, to carry out fully the
intent of the foregoing resolutions;

        FURTHER RESOLVED, that each of the Authorized Officers, acting alone, be, and
hereby is, authorized and empowered to execute and deliver any amendments, amendment and
restatements, documents, supplements, waivers, modifications, renewals, refinancings,
replacements, consolidations, substitutions and extensions of the DIP Credit Agreement and any
of the other DIP Loan Documents which shall in their sole judgment be necessary, proper or
advisable;

        FURTHER RESOLVED, that the DIP Agent (or its designee) is authorized to file or
record financing statements and other filing or recording documents or instruments with respect to
the Collateral without the signature of each DIP Loan Party in such form and in such offices as the
DIP Lenders determines appropriate to perfect the security interests of the DIP Agent under the
DIP Credit Agreement and the other DIP Loan Documents, as appropriate. The DIP Agent is
authorized to use the collateral description “all or substantially all personal property assets”, “all
personal property of the debtor now owned or hereafter acquired”, “all assets, wherever located,
whether now owned or existing or hereafter acquired or arising, together with all proceeds thereof”
or any “all assets” or similar description in any such financing statements;

        FURTHER RESOLVED, that all acts and actions taken by the Authorized Officers prior
to the date hereof with respect to the transactions contemplated by the DIP Credit Agreement and
any of the other DIP Loan Documents be, and hereby are, in all respects confirmed, approved and
ratified; and

        FURTHER RESOLVED, that the capitalized terms used in the resolutions under the
caption “SENIOR SECURED SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT
AGREEMENT” and not otherwise defined herein shall have the meanings ascribed to such terms
in the DIP Credit Agreement.
              Case 23-11074-CTG         Doc 1    Filed 08/06/23     Page 17 of 32




 V.    GENERAL RATIFICATION

        RESOLVED, that any acts of each Board or the Authorized Officers of each Company or
of any person or persons designated and authorized to act by an officer of each Company, which
acts would have been authorized by the foregoing resolutions except that such acts were taken
prior to the adoption of such resolutions, are hereby severally ratified, confirmed, approved and
adopted as acts in the name and on behalf of each Company.

VI.    MISCELLANEOUS

        RESOLVED, that in order to fully carry out the intent and effectuate the purposes of the
foregoing resolutions, the Authorized Officers be, and each hereby is, authorized to take all such
further action, and to execute and deliver all such further instruments and documents, in the name
and on behalf of each Company, and under its seal or otherwise, and to pay all such fees and
expenses, which shall in such Authorized Officer’s judgment be necessary, proper or advisable.


                                           ********
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 18 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Darrel J. Harris



                                                              Daniel C. Kling


                                                              ______________________________
                                                              Ashley Shomin


                                                              BEING ALL OF THE MEMBERS OF THE
                                                              BOARD OF DIRECTORS OF:

                                                              USF REDDAWAY INC.




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 19 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Darrel J. Harris



                                                              Anthony P. Carreño



                                                              Kevin J. Oakleaf


                                                              BEING ALL OF THE MEMBERS OF THE
                                                              BOARD OF DIRECTORS OF:

                                                              EXPRESS LANE SERVICE, INC.
                                                              ROADWAY EXPRESS INTERNATIONAL, INC.
                                                              YRC ASSOCIATION SOLUTIONS, INC.
                                                              ROADWAY LLC




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 20 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Dale Derksen



                                                              Jamie Carlson


                                                              ______________________________
                                                              Kevin J. Oakleaf


                                                              BEING ALL OF THE MEMBERS OF THE
                                                              BOARD OF DIRECTORS OF:

                                                              YRC LOGISTICS INC.




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 21 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.



                                                              Kevin J. Oakleaf


                                                              ______________________________
                                                              Jamie Carlson



                                                              Darrel J. Harris


                                                              BEING ALL OF THE MEMBERS OF THE
                                                              BOARD OF DIRECTORS OF:

                                                              ROADWAY NEXT DAY CORPORATION




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 22 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Kevin J. Oakleaf



                                                              Jamie Carlson


                                                              ______________________________
                                                              Jeffrey E. Minter


                                                              BEING ALL OF THE MEMBERS OF THE
                                                              BOARD OF DIRECTORS OF:

                                                              USF DUGAN INC.
                                                              USF HOLLAND INTERNATIONAL SALES
                                                              CORPORATION
                                                              YRC LOGISTICS SERVICES, INC.
                                                              YRC REGIONAL TRANSPORTATION, INC.
                                                              USF BESTWAY INC.
                                                              USF REDSTAR LLC
                                                              YRC MORTGAGES, LLC
                                                              YELLOW FREIGHT CORPORATION




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 23 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Jamie Carlson



                                                              Jeffrey H. Coltrin


                                                              ______________________________
                                                              Matthew J. Lee


                                                              BEING ALL OF THE MEMBERS OF THE
                                                              BOARD OF DIRECTORS OF:

                                                              YELLOW LOGISTICS, INC. (f/k/a HNRY
                                                              LOGISTICS, INC.)




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 24 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Jamie Carlson



                                                              Annlea Rumfola


                                                              ______________________________
                                                              Darrel J. Harris


                                                              BEING ALL OF THE MEMBERS OF THE
                                                              BOARD OF DIRECTORS OF:

                                                              YRC ENTERPRISE SERVICES, INC.




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 25 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Sean Saunders



                                                              Melissa S. Tomlen


                                                              ______________________________
                                                              Darrel J. Harris


                                                              BEING ALL OF THE MEMBERS OF THE
                                                              BOARD OF DIRECTORS OF:

                                                              YRC INC.




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 26 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Anthony P. Carreño



                                                              Dale Derksen


                                                              ______________________________
                                                              Kevin J. Oakleaf


                                                              BEING ALL OF THE MEMBERS OF THE
                                                              BOARD OF DIRECTORS OF:

                                                              YRC FREIGHT CANADA COMPANY
                                                              1105481 ONTARIO INC.




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 27 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Anthony P. Carreño


                                                              ______________________________
                                                              Jeffrey H. Coltrin


                                                              ______________________________
                                                              Darrel J. Harris


                                                              BEING ALL OF THE MANAGERS OF:

                                                              NEW PENN MOTOR EXPRESS LLC




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 28 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Jeffrey E. Minter



                                                              Daniel L. Olivier


                                                              ______________________________
                                                              Darrel J. Harris


                                                              BEING ALL OF THE MANAGERS OF:


                                                              USF HOLLAND LLC




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 29 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.


                                                              Jamie Carlson


                                                              Kevin J. Oakleaf

                                                              ______________________________
                                                              Ashley Shomin


                                                              BEING ALL OF THE MEMBERS OF THE
                                                              BOARD OF DIRECTORS OF:

                                                              YRC INTERNATIONAL INVESTMENTS, INC.




                                          [Signature Page to Omnibus Consent – Yellow]
DocuSign Envelope ID: BCDED9B0-05B4-4E41-94E7-0637F8A9A59D
                            Case 23-11074-CTG            Doc 1     Filed 08/06/23        Page 30 of 32




                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
            written above.




                                                                     ______________________________
                                                                     Douglas A. Carty

                                                                     ______________________________
                                                                     Darren D. Hawkins

                                                                     ______________________________
                                                                     James E. Hoffman

                                                                     ______________________________
                                                                     Shaunna D. Jones

                                                                     ______________________________
                                                                     Susana Martinez

                                                                     ______________________________
                                                                     David S. McClimon

                                                                     ______________________________
                                                                     Patricia M. Nazemetz

                                                                     ______________________________
                                                                     Chris T. Sultemeier

                                                                     ______________________________
                                                                     David H. Webber


                                                                     BEING ALL OF THE MEMBERS OF
                                                                     THE BOARD OF DIRECTORS OF:

                                                                     YELLOW CORPORATION




                                          [Signature Page to Omnibus Consent – Yellow]
Case 23-11074-CTG   Doc 1   Filed 08/06/23   Page 31 of 32




                      Schedule A

                        Companies

              Company                        Jurisdiction
YELLOW CORPORATION                            Delaware
EXPRESS LANE SERVICE, INC.                    Delaware
NEW PENN MOTOR EXPRESS LLC                    Delaware
ROADWAY EXPRESS INTERNATIONAL, INC.           Delaware
ROADWAY LLC                                   Delaware
ROADWAY NEXT DAY CORPORATION                  Delaware
YELLOW LOGISTICS, INC.                        Delaware
USF DUGAN INC.                                 Kansas
USF HOLLAND LLC                               Delaware
USF REDDAWAY INC.                              Oregon
USF REDSTAR LLC                               Delaware
YRC ASSOCIATION SOLUTIONS, INC.               Delaware
YRC INC.                                      Delaware
YRC INTERNATIONAL INVESTMENTS, INC.           Delaware
YRC LOGISTICS SERVICES, INC.                   Illinois
YRC MORTGAGES, LLC                            Delaware
YRC ENTERPRISE SERVICES, INC.                 Delaware
YRC REGIONAL TRANSPORTATION, INC.             Delaware
USF BESTWAY INC.                              Arizona
YRC LOGISTICS INC.                             Ontario
USF HOLLAND INTERNATIONAL SALES              Nova Scotia
CORPORATION
YRC FREIGHT CANADA COMPANY                   Nova Scotia
1105481 ONTARIO INC.                           Ontario
YELLOW FREIGHT CORPORATION                    Delaware
      Case 23-11074-CTG   Doc 1    Filed 08/06/23   Page 32 of 32




                              Schedule B

                          DIP Loan Parties

                    Company                         Jurisdiction
      YELLOW CORPORATION                             Delaware
      EXPRESS LANE SERVICE, INC.                     Delaware
      NEW PENN MOTOR EXPRESS LLC                     Delaware
      ROADWAY EXPRESS INTERNATIONAL, INC.            Delaware
      ROADWAY LLC                                    Delaware
      ROADWAY NEXT DAY CORPORATION                   Delaware
      YELLOW LOGISTICS, INC.                         Delaware
      USF DUGAN INC.                                  Kansas
      USF HOLLAND LLC                                Delaware
      USF REDDAWAY INC.                               Oregon
      USF REDSTAR LLC                                Delaware
      YRC ASSOCIATION SOLUTIONS, INC.                Delaware
      YRC INC.                                       Delaware
      YRC INTERNATIONAL INVESTMENTS, INC.            Delaware
      YRC LOGISTICS SERVICES, INC.                    Illinois
      YRC MORTGAGES, LLC                             Delaware
      YRC ENTERPRISE SERVICES, INC.                  Delaware
      YRC REGIONAL TRANSPORTATION, INC.              Delaware
      USF BESTWAY INC.                               Arizona
      YRC LOGISTICS INC.                              Ontario
      USF HOLLAND INTERNATIONAL SALES               Nova Scotia
      CORPORATION
      YRC FREIGHT CANADA COMPANY                    Nova Scotia
      1105481 ONTARIO INC.                            Ontario
      YELLOW FREIGHT CORPORATION                     Delaware




012
